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                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

IN RE: Ohio Valley University                               )    CASE NO.: 22-00056
                                                            )
                            Debtor.                         )    Chapter 7
                                                            )

                      MOTION TO SELL PROPERTY FREE AND CLEAR
                     OF LIENS AND NOTICE OF UPSET BID PROCEDURES

        Thomas H. Fluharty (the “Trustee”) respectfully submits this Motion for an order pursuant
to 11 U.S.C. §§ 105(a), 363, 704, and Fed. R. Bankr. P. 2002, and 6004 to approve the sale of the
bankruptcy estate’s interest in property, and to approve the notice of the auction and bid procedures
set forth herein. In support of this Motion, the Trustee states:

A.      BACKGROUND

        1.         The Debtor1 filed a petition under Chapter 7 of the Bankruptcy Code on February 17,
                   2022 (the “Petition Date”).

        2.         An asset of the bankruptcy estate is personal property described as a 2015 Toyota
                   Avalon Hybrid, LTD, 4 door sedan, VIN #4T1BD1EB1FU044857 (the “Property”).

        3.         The Debtor is the sole owner of the property.

        4.         As of the Petition Date, the Debtor valued the Debtor’s interest in Property at
                   “unknown.” The Trustee asserts that the vehicle has a fair market value of $15,243
                   to $17,924. The Trustee is unaware of the condition of the vehicle but believes the
                   offer of $15,000.00 is reasonable.

        5.         Secured claims against the property are as follows:

 Creditor                                 Type of Lien (e.g., deed of             Approximate Balance owed
                                          trust, mortgage, statutory,             as of the time of the filing of
                                          judicial)                               the Motion
 None




B.      THE SALE


        1
            As used herein, the term “Debtor” shall include a single debtor or joint debtors, as the case may be.
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      6.    Subject to the Upset Bid Procedures set forth below, The Trustee proposes to sell the
            2015 Toyota Avalon Hybrid, for $15,000.00 to Keith Stotts, 1222 Cisler Drive,
            Marietta, OH 45750-9450 (the “Buyer”). The Trustee believes that the sales price
            is fair and reasonable.

      7.    The Buyer is not an insider of the Debtor, and the sale represents an arms-length
            transaction between the parties, made without fraud, collusion, and no attempt has
            been made by either party to take any unfair advantage of the other (if the Buyer is
            an insider, or a person with whom the Trustee has a business relationship then
            explain the nature of that relationship and why the Trustee believes the sale price is
            fair). The Buyer is purchasing the Property in good faith pursuant to 11 U.S.C. §
            363(m).

      8.    The sale of the Property is being made free and clear of any interest in the Property
            held by an entity other than the estate pursuant to 11 U.S.C. § 363(f) because either:
            (1) applicable non-bankruptcy law permits the sale of the Property free and clear of
            such interests; (2) such entity consents to the sale; (3) such interest is a lien and the
            price at which the Property is to be sold is greater than the aggregate value of all
            liens on such property; (4) such interest is in bona fide dispute; or (5) such entity
            could be compelled, in a legal or equitable proceedings, to accept a money
            satisfaction of such interest.

C.    OBJECTION

      9.    Any party that objects to the motion to sell must file a written objection with the
            Bankruptcy Court, at Northern District: P.O. Box 70, Wheeling, WV 26003, the
            United States Trustee, at 2025 United States Courthouse, 300 Virginia Street East,
            Charleston, WV 25301, and the Chapter 7 Trustee, 408 Lee Avenue, Clarksburg,
            WV 26301, within the notice period issued by the Bankruptcy Court Clerk. The
            written objection shall set out the specific grounds for objection. Unless the Court
            orders otherwise, or unless the Court sets a hearing on this Motion, that objection
            period is generally 23 days from the filing of this motion pursuant to Fed. R. Bankr.
            P. 2002(a)(2). The deadlines set forth in this Paragraph concerning objections to a
            proposed sale supercede those provided in Fed. R. Bankr.P. 6004(b).

D.    UPSET BID PROCEDURES

      10.   Any party interested in purchasing the Property (an “Upset Bidder”) should file a
            notice of an upset bid with the Bankruptcy Court and serve the United States Trustee
            and Chapter 7 Trustee with copies of such notice (at the addresses listed above)
            within the time set by the Bankruptcy Court Clerk. The Upset Bidder shall submit
            to the undersigned Trustee an offer, in writing, in an amount equal to the Alternative
            Minimum Bid (defined below), and submit information demonstrating the financial
            wherewithal of the Upset Bidder to consummate the proposed transaction. The
            Trustee, in the Trustee’s discretion, will determine if the Upset Bidder has submitted
            a qualified bid based on the terms of the bid, and the Upset Bidder’s financial ability
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            to consummate the proposed purchase at the Alternative Minimum Bid price. The
            deadlines set forth in this Paragraph concerning objections to a proposed sale by an
            Upset Bidder supercede those provided in Fed. R. Bankr.P. 6004(b).

      11.   The Alternative Minimum Bid is $15,500.00.

      12.   If a qualified Alternative Minimum Bid is timely received by the Trustee, then the
            Trustee shall conduct a private auction at a time, place, and manner that is
            determined by the Trustee. The Trustee will file notice of the auction time and place
            with the court. The Trustee will select the bid, or combination of bids, at the
            conclusion of the auction that the Trustee believes to be the highest or best value for
            the Property (the “Winning Bidder”). The Trustee reserves the right to select the
            best bid, even if not the highest bid. The Winning Bidder must complete and sign
            all agreements or other documents with the Trustee evidencing and containing the
            terms and conditions on which the winning bid was made before the auction is
            concluded.

      13.   If a bidder at the auction objects to the Trustee’s selection of the Winning Bidder,
            then that bidder may submit a bid under protest at the auction and shall have standing
            to file an objection to sale to contest the Trustee’s determination. The objection must
            be in writing and be filed with the Bankruptcy Court, United States Trustee and
            Chapter 7 Trustee (at the addresses listed above). If an objection to sale is filed, the
            Bankruptcy Court shall set the objection for hearing.

      14.   If for any reason the Winning Bidder fails to consummate the sale of the Property,
            the offeror of the second highest or best bid (subject to the same reservations) will
            automatically be deemed to have submitted the highest and best bid, and the Trustee
            is authorized to effect the sale of the Property to such offeror without further order
            from the bankruptcy court. If such failure to consummate the purchase of the
            Property is the fault of the Winning Bidder, the Winning Bidder’s deposit, if any,
            shall be forfeited to the Trustee, and the Trustee specifically reserves the right to
            seek all available damages from the defaulting bidder.

      15.   The Trustee reserves the right to: (1) impose, at or prior to the Auction, additional
            terms and conditions on a sale of the Property; (2) extend the deadlines from those
            set forth herein, adjourn the auction at the auction; (3) withdraw the Property, or any
            part of the Property, from sale at any time prior to or during the auction, and to make
            subsequent attempts to market the same; and (4) reject all bids if, in the Trustee’s
            reasonable judgment, no bid is for a fair and adequate price.


D.    RELIEF REQUESTED

      WHEREFORE, the Trustee requests:

      A.    That the Clerk’s Office issue a notice to all interested parties of the filing of the
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            Motion to Sell and the Notice of Auction and Bid Procedures pursuant to Fed. R.
            Bankr. P. 2002(a)(2), (c)(1), (k) and 6004(a).

      B.    That the Court enter an Order, submitted by the Trustee, in the absence of any timely
            filed objection to the sale motion, which:

                    1.     Authorizes the Trustee to sell the Property;

                    2.     Approves the sale of the Property pursuant to 11 U.S.C. § 363(b),
                           (f), (h), (m) and Fed. R. Bankr. P. 6004;

                    3.     Declares that all liens against the Property attach to the proceeds of
                           the sale;

                    4.     Approves the payment of sale proceeds to: (1) the costs of sale; (2)
                           the satisfaction of liens in the Property in order of priority; (3) the
                           satisfaction of any co-owner’s interest; (4) the satisfaction of the
                           Debtor’s exemptible interest in the property; and (5) the Trustee for
                           payment to allowed claims filed in the Debtor’s bankruptcy case.

                    5.     Requiring the Chapter 7 Trustee to file a final report of sale with the
                           Court in accordance with Fed. R. Bankr. P. 6004(f).

                    6.     Granting such other relief that the court deems just and proper.


                                                  Respectfully submitted,



                                                    /s/ Thomas H. Fluharty
                                                   Thomas H. Fluharty, Trustee
                                                   WV Bar No.: 1231
                                                   408 Lee Avenue
                                                   Clarksburg, WV 26301
                                                   (304) 624-7832
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the above-referenced MOTION TO SELL

PROPERTY FREE AND CLEAR OF LIENS AND NOTICE OF UPSET BID PROCEDURES

AND ORDER ON MOTION was served on the parties that receive electronic notification in these

proceedings. The Motion was also served on the parties listed below via U.S. Mail, postage prepaid,

on        May 11, 2022        .



Keith Stotts
1222 Cisler Drive
Marietta, OH 45750-9450


Served electronically on:

Martin P. Sheehan, Esquire
sheehanbankruptcy@wvdsl.net
Counsel for Debtor


Office of the U.S. Trustee
ustpregion04.ct.ecf@usdoj.gov




                                                       /s/ Thomas H. Fluharty
                                                      Thomas H. Fluharty, Trustee
